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SECOND DISTRICT OF TEXAS

FORT WORTH 

NO. 2-04-183-
CV



IN RE OMEGA OB/GYN ASSOCIATES	RELATOR

OF SOUTH ARLINGTON

------------

ORIGINAL PROCEEDING

------------

MEMORANDUM
 
OPINION
(footnote: 1)
------------

The court has considered relator's petition for writ of mandamus 
and is of the opinion that relief should be denied because relator has an adequate remedy by appeal. &nbsp;Accordingly, relator's petition for writ of mandamus is denied.

Relator shall pay all costs of this original proceeding
, for which let execution issue.



PER CURIAM





PANEL B
: DAUPHINOT, J.; CAYCE, C.J.; HOLMAN, J.



DELIVERED July 22, 2004



FOOTNOTES
1:See 
Tex. R. App. P. 47.4
.




